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  15                          UNITED STATES DISTRICT COURT
  16                         CENRAL DISTRICT OF CALIFORNIA
  17

  18   HEALTHVANA, INC.,                           Case No. 2:20-cv-04305-DDP (SKx)
  19   a Delaware corporation,                     PLAINTIFF’S FIRST AMENDED
                                                   COMPLAINT FOR:
  20                 Plaintiff,
                v.                                   1. TRADEMARK INFRINGEMENT
  21
                                                        [15 U.S.C. § 1114]
  22                                                 2. UNFAIR COMPETITION [15
       TELEBRANDS CORP., a New Jersey                   U.S.C. § 1125(a)(1)(A)]
  23   Corporation; HEMPVANA, LLC, a                 3. CALIFORNIA COMMON LAW
  24   Delaware Limited Liability Company;              TRADEMARK INFRINGEMENT
       BULBHEAD.COM, LLC; a Delaware                    AND UNFAIR COMPETITION
  25   Limited Liability Company; and                4. UNFAIR COMPETITION IN
  26   HEALTH BLOOM, LLC, a Delaware                    VIOLATION OF CAL. BUS. &
       Limited Liability Company,                       PROF. CODE, § 17200, ET SEQ.
  27
                     Defendants.                     5. FALSE ADVERTISING [15. U.S.C.
  28                                                    § 1125(a)(1)(B)]
       {217689.3}                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                                           6. FALSE ADVERTISING IN
   2
                                                  VIOLATION OF CAL. BUS. &
                                                  PROF. CODE, § 17200, ET SEQ.
   3                                           7. VIOLATION OF THE
   4                                              ANTICYBERSQUATTING
                                                  CONSUMER PROTECTION ACT
   5                                              [15. U.S.C. § 1125(d)]
   6                                           8. CONTRIBUTORY TRADEMARK
                                                  INFRINGEMENT
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   8                                           JURY TRIAL DEMANDED

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       {217689.3}                         PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            Plaintiff Healthvana, Inc. (“Healthvana”), for its complaint against defendants
   2   Telebrands Corp. (“Telebrands”), Hempvana, LLC (“Hempvana”), Bulbhead.com,
   3   LLC (“Bulbhead”), and Health Bloom, LLC (collectively, “Defendants”) alleges as
   4   follows:
   5                                   NATURE OF THE ACTION
   6                1.   This action for trademark infringement and false advertising
   7    demonstrates how a crisis brings out the best in some companies and the worst in
   8    others.
   9                2.   Since 2014, Plaintiff Healthvana has operated with the mission to help
  10    improve healthcare through the use of technology. This small Los Angeles-based
  11    company makes a big impact throughout the country by offering its digital health
  12    platform where healthcare providers can better manage and communicate with their
  13    patients, while providing patients a mobile phone friendly way of staying on top of
  14    their health. Healthvana’s platform has delivered over 15 million lab results to
  15    patients in more than twenty states across the United States under the registered
  16    trademark HEALTHVANA. In the face of the COVID-19 pandemic, Healthvana
  17    immediately expanded its respected platform, which is particularly well-suited to
  18    the testing demands of the crisis, to work with healthcare providers, cities, states,
  19    and businesses. It is also assisting with digital contact tracing and providing other
  20    valuable information such as heat maps to help track infection trends.
  21                3.   Healthvana’s platform is so successful and trusted that the City of Los
  22    Angeles and Los Angeles County recently designated Healthvana to deliver test
  23    results at many of their drive-thru and walk-thru testing centers, including eight
  24    testing centers in the City of Los Angeles and ten centers in other parts of Los
  25    Angeles County. Healthvana’s employees are engaging in a tireless effort to help
  26    combat the COVID-19 crisis and ultimately provided the critical information that
  27    can empower people to stop the spread of this infection and possibly end the
  28    pandemic.
       {217689.3}                                    3
                                                      PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                4.   On the other hand, in the face of the COVID-19 pandemic, Defendant
   2    Telebrands, “the foremost consumer products direct to marketing company in the
   3    world,” and its affiliates launched an instant business running national television
   4    ads promising delivery of “Healthvana” hand sanitizer for $14.99 per bottle.
   5    Defendant Health Bloom, believed to be organized at the direction of Telebrands,
   6    was incorporated on March 5, 2020 as the COVID-19 crisis unfolded in the United
   7    States, and the website www.healthvanafoam.com was registered on March 12,
   8    2020. Defendants’ sales of “Healthvana” hand sanitizer began around March 18,
   9    2020, and for weeks later, angry customers who had been charged high prices but
  10    who had not received delivery of their hand sanitizer targeted the real Healthvana
  11    with their complaints and anger.
  12                5.   Because Defendants used Healthvana’s registered HEALTHVANA
  13    trademark to sell their hand sanitizer, the backlash was directed not at Defendants,
  14    but at Healthvana. Angry consumers took to social media to accuse Healthvana of
  15    “profit over people” and “taking advantage of people during a crisis by jacking up
  16    prices on things that were hoarded.” Healthvana was accused on social media of
  17    being “Liars!,” and consumers called for the federal government to investigate
  18    Healthvana. A credit card fraud department contacted Healthvana about charges
  19    for hand sanitizer products that raised red flags. Messages submitted through the
  20    Healthvana website were filled with expletives and accused Healthvana of “price
  21    gouging” and being a “bunch of crooks.” As a result, Healthvana was forced to
  22    take valuable time and effort from its COVID-19 testing efforts to defend its name,
  23    explain to hundreds of upset people that it was a trusted source for COVID-19 test
  24    results, not a hand sanitizer retailer, and respond to the angry queries from confused
  25    consumers who were demanding delivery of product or refunds. The trust and
  26    relationships that Healthvana worked so hard for years to build suddenly came into
  27    question as investors, partners, and customers saw television ads of its distinctive
  28    “Healthvana” name attached to an over-priced hand sanitizer.
       {217689.3}                             4
                                                    PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                6.   Although Healthvana put Defendants on notice of its infringing conduct
   2    on March 20, 2020, Defendants did not rebrand to “Handvana” until weeks later in
   3    early April 2020. Even then, the confusion and anger continued and still persists as
   4    of the filing of this Complaint. Angry consumers who have not received their
   5    orders from Defendants, and who see “Healthvana” on their credit card statements,
   6    continue to contact Healthvana. Defendants also continue to prosecute applications
   7    to register the HEALTHVANA mark with the U.S. Patent and Trademark Office.
   8    Healthvana brings this action to stop Defendants’ unlawful and harmful conduct, to
   9    force Defendants to publicly correct the record, and to compensate Healthvana for
  10    the damages it has suffered.
  11                                  JURISDICTION AND VENUE
  12                7.   This is a civil action for, inter alia, trademark infringement, unfair
  13    competition, false advertising, and cybersquatting. See 15 U.S.C. §§ 1114; 1125.
  14                8.   This Court has original jurisdiction pursuant to 15 U.S.C. § 1121
  15    (Lanham Act), 28 U.S.C. § 1331 (federal question jurisdiction), 28 U.S.C. § 1338
  16    (trademark, copyright, and unfair competition), and supplemental jurisdiction over
  17    the related state law claims pursuant to 28 U.S.C. § 1367.
  18                9.   This Court has personal jurisdiction over Defendants because
  19    Defendants do and have done substantial business in this district, including
  20    operating interactive websites at www.healthvanafoam.com,
  21    www.handvanafoam.com, www.bulbhead.com, www.myhydrocleangel.com,
  22    offering to sell and ship their infringing hand sanitizer, shampoo, and gel products
  23    throughout the country, including in this District, have caused confusion among
  24    consumers throughout the country, including among consumers residing in this
  25    District, and have committed willful and deliberate acts and omissions with
  26    knowledge that the effects of such acts and omissions would harm Healthvana in
  27    the State of California and in this District.
  28            10.      Venue is proper in this Division of this Judicial District pursuant to 28
       {217689.3}                                    5
                                                       PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   U.S.C. § 1391(b)(2) and (b)(3).
   2                                          PARTIES
   3            11.   Plaintiff Healthvana is a corporation organized under the laws of the
   4   State of Delaware with a business address at 7162 Beverly Blvd., #238, Los
   5   Angeles, California 90036. Healthvana is the owner of the federally registered
   6   HEALTHVANA trademark (the “HEALTHVANA Mark”) that Defendants have
   7   infringed willfully.
   8            12.   Defendant Hempvana is a limited liability company organized under
   9   the laws of the State of Delaware with a business address at 2901 Collins Ave.,
  10   Miami Beach, Florida 33140. Hempvana offered the infringing Healthvana hand
  11   sanitizer, gel, and shampoo for sale on the website www.healthvanafoam.com.
  12   Hempvana also owns U.S. Application Serial Nos. 88504451 and 88784770 to
  13   register the mark HEALTHVANA for a variety of goods, including pharmaceuticals
  14   and vitamin and mineral supplements.
  15            13.   Defendant Bulbhead is a limited liability company organized under the
  16   laws of the State of Delaware with a business address at 79 Two Bridges Road,
  17   Fairfield, New Jersey 07004. On information and belief, Defendant Telebrands
  18   launched Bulbhead in or around 2015 to build a long-term branding effort around
  19   “bright ideas.” Bulbhead offered the infringing Healthvana hand sanitizer, gel, and
  20   shampoo for sale on its website, www.bulbhead.com.
  21            14.   Defendant Telebrands is a corporation organized under the laws of the
  22   State of New Jersey with a business address at 79 Two Bridges Road, Fairfield, New
  23   Jersey 07004. Telebrands shares the same business address as Bulbhead.
  24   Telebrands describes itself as “a leading direct television marketing company and
  25   the original creator of the ‘As Seen On TV’ logo and category of trade.” Telebrands
  26   claims copyright ownership over the website www.healthvanafoam.com through
  27   which Defendants have sold their infringing products.
  28            15.   Defendant Health Bloom is a corporation organized and existing under
       {217689.3}                               6
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
Case 2:20-cv-04305-DDP-SK Document 59 Filed 08/20/21 Page 7 of 37 Page ID #:683




   1   the State of Delaware with a business address at 2901 Collins Ave., Miami Beach,
   2   Florida 33140. Health Bloom shares the same business address as Hempvana.
   3   Health Bloom owns U.S. Application Serial No. 88847447 to register the mark
   4   HEALTHVANA HYDROCLEAN for “Disinfecting wipes; disinfectant sprays;
   5   disinfectants; disinfecting handwash; disinfectant soap; hand sanitizer and
   6   disinfecting foam” and U.S. Application Serial No. 88840561 to register the mark
   7   HEALTHVANA for a variety of goods, including preparations for pain and dietary
   8   and nutritional supplements.
   9         HEALTHVANA’S HIPAA-SECURE, MOBILE FRIENDLY PORTAL
  10            16.   Since 2014, Healthvana has been operating as a digital health platform
  11   used by healthcare providers and patients throughout the United States, primarily
  12   those focusing on prevention and management of HIV and sexually transmitted
  13   infections.
  14            17.   Healthvana’s platform digitally delivers test results through a secure
  15   portal, including to patients’ mobile phones, through its website and applications,
  16   which are compliant with the Health Insurance Portability and Accountability Act
  17   (“HIPAA”). To date, Healthvana has delivered more than 15 million lab results to
  18   more than 400,000 patients nationwide.
  19            18.   Healthvana also allows healthcare providers to conduct contact-free
  20   mobile-registration intake, allowing patients to check in to visits from any tablet,
  21   smartphone, or computer.
  22            19.   Healthvana has built its business on trust and relationships, earning the
  23   confidence of patients and healthcare providers alike through the proven track
  24   record of its secure platform.
  25            20.   Because of its proven track record in secure test result delivery and
  26   contact-free registration intake, Healthvana is especially well-suited to make a
  27   much-needed and meaningful impact with COVID-19 testing efforts.
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       {217689.3}                                  7
                                                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1       HEALTHVANA’S INSTRUMENTAL ROLE IN COVID-19 TESTING
   2          21.    Healthvana has been on the forefront of efforts to combat the COVID-
   3   19 virus by operating as an all-in-one digital test results delivery, contact tracing,
   4   and reporting platform. It currently works with healthcare providers, companies,
   5   cities, and states as part of that effort.
   6          22.    Since the start of the COVID-19 pandemic, Healthvana has delivered
   7   more than one hundred thousand COVID-19 test results directly to patients’ mobile
   8   phones. Below is a screenshot of a sample of how a test result might appear on the
   9   mobile phone of a patient receiving COVID-19 test results.
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              23.    A test result will report either a finding of “Negative,” meaning the test
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       found no evidence that the patient was infected with the COVID-19 virus;
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       “Positive,” meaning that the coronavirus that causes COVID-19 was detected; or
  26
       “Need New Sample,” meaning that there was a problem with the sample or the
  27
       information the patient provided and the test cannot be completed.
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       {217689.3}                               8
                                                    PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1         24.    Healthvana provides patients with a mobile record that they can share
   2   with doctors, employers, and people with which they have been in contact. This is
   3   critical to helping patients obtain the care they need and to permit everyone from
   4   front-line workers to epidemiologists understand who may have been exposed to the
   5   COVID-19 virus.
   6         25.    In addition to providing test results and a mobile record, Healthvana
   7   provides its customers with advanced reporting tools and heat maps allowing them
   8   to identify trends of infections in certain areas. This information can allow entities
   9   like state and local governments to better understand where COVID-19 “hot spots”
  10   are developing to devote resources to targeted areas.
  11         26.    Because of the importance of Healthvana’s digital test results delivery,
  12   contact tracing, and reporting platform to fighting the COVID-19 pandemic,
  13   Healthvana has been involved in discussions with all levels of the government
  14   across the United States
  15         27.    The City of Los Angeles and Los Angeles County have designated
  16   Healthvana to deliver test results at many of their drive-thru and walk-thru testing
  17   centers, including testing centers at the Hotchkin Memorial Training Center, the
  18   Hansen Dam Recreaction Center, the Crenshaw Christian Center, VA Lot 15 (Jackie
  19   Robinson Stadium), Lincoln Park, Carbon Health/Echo Park, West Valley, Kedren
  20   Community Health Center, Antelope Valley Mall, Pomona Fairplex Gate 17, South
  21   Bay Galleria, Santa Clarita, East LA College, Charles R. Drew Campus, San Gabriel
  22   Valley Airport, Bellflower City Hall, The Forum, and Harbor UCLA Hospital.
  23                      HEALTHVANA’S TRADEMARK RIGHTS
  24         28.    Healthvana has been using the HEALTHVANA Mark continuously
  25   throughout the United States since 2014 in connection with its digital health
  26   platform. In that time, Healthvana has spent a substantial amount of time, money
  27   and resources to promote, advertise, and protect the HEALTHVANA Mark, and it
  28   has developed extremely valuable goodwill in the HEALTHVANA mark.
       {217689.3}                            9
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            29.   Healthvana also owns U.S. Federal Trademark Registration No.
   2   4,857,628 for the HEALTHVANA Mark for use in connection with a variety of
   3   goods and services, including its software and app that allows patients and
   4   healthcare providers to manage personal medical records and consulting services in
   5   the field of healthcare and a website featuring health care information. A true and
   6   correct copy of U.S. Registration No. 4,857,628 is attached to this Complaint as
   7   Exhibit A.
   8            30.   Healthvana applied to register HEALTHVANA on July 8, 2014, and
   9   U.S. Registration No. 4,857,628 issued on November 24, 2015.
  10            31.   Under the Lanham Act, Healthvana’s registration of the
  11   HEALTHVANA Mark is prima facie evidence of the validity of the
  12   HEALTHVANA Mark, Healthvana’s ownership of the HEALTHVANA Mark, and
  13   Healthvana’s exclusive right to use the HEALTHVANA Mark in commerce on or in
  14   connection with the goods or services specified in the registration. See 15 U.S.C.
  15   § 1115(a).
  16            32.   Under the Lanham Act, Healthvana’s registration of the
  17   HEALTHVANA Mark also constitutes constructive notice to the public, including
  18   Defendants, of Healthvana’s claim of ownership of the HEALTHVANA Mark. See
  19   15 U.S.C. § 1072.
  20        DEFENDANTS’ EFFORTS TO CAPITALIZE ON INCREASED HAND
  21                       SANITIZER DEMAND DUE TO COVID-19
  22            33.   As the COVID-19 pandemic spread throughout the world and the
  23   United States in February and March 2020, demand for hand sanitizer products
  24   increased as people around the world sought these products to kill viruses such as
  25   COVID-19. For example, a CNBC article dated March 3, 2020,1 entitled Sales Of
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        Available at https://www.cnbc.com/2020/03/03/coronavirus-hand-sanitizer-sales-
       surge-leading-to-price-hikes.html.
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       {217689.3}                               10
                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   Hand Sanitizer Are Skyrocketing Due To The Coronavirus, Leading To Rationing
   2   and Price Hikes, cited a Nielsen report stating that “hand sanitizer purchases in the
   3   United States were up 73% during the four weeks until February 22, with analysts
   4   predicting sales ‘won’t peak for some time.’”
   5            34.   On information and belief, one or more Defendants began selling hand
   6   sanitizer products under the name “Healthvana” on or around March 18, 2020,
   7   including through a website at www.healthvanafoam.com.
   8            35.   According to the WHOIS query and response protocol that provides
   9   information about domain name registrations, the domain
  10   www.healthvanafoam.com was registered on March 12, 2020. The records for this
  11   domain do not reveal the owner of the domain because it was registered using a
  12   privacy protection service.
  13            36.   According to the incorporation records from the Delaware Secretary of
  14   State, Defendant Health Bloom was incorporated on March 5, 2020. Health Bloom
  15   shares the same business address as Defendant Hempvana in Miami Beach, Florida.
  16            37.   Two weeks after its incorporation, on March 25, 2020, Health Bloom
  17   filed U.S. Application Serial No. 88/847,447 to register the trademark
  18   HEALTHVANA HYDROCLEAN for “Disinfecting wipes; disinfectant sprays;
  19   disinfectants; disinfecting handwash; disinfectant soap; hand sanitizer and
  20   disinfecting foam.”
  21            38.   A true and correct copy of Defendants’ www.healthvanafoam.com
  22   website is attached hereto as Exhibit B, and a screenshot of a portion of the website
  23   is shown below:
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                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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  16            39.   Through the www.healthvanafoam.com website, one or more
  17   Defendants offered “Healthvana” hand sanitizer for sale in three different quantities
  18   and prices: a single bottle of seven fluid ounces for $14.99 plus $6.99 in shipping
  19   and handling, a six-pack of bottles for $77.94 with free shipping and handling, and a
  20   twelve-pack of bottles for $119.88 with free shipping and handling. A true and
  21   correct copy of a screen shot of the www.healthvanafoam.com website is shown
  22   below:
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                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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  16            40.   In addition to their direct-to-consumer sales, Defendants also sold the
  17   infringing sanitizer products, under the “Healthvana” name and labeled with a
  18   “Healthvana” brand, to retailers, including, but not limited to, Home Depot, Lowe’s,
  19   and CVS, with the knowledge and intention that the products were to be sold to
  20   consumers at the retailers’ brick-and-mortar locations using the HEALTHVANA
  21   mark.
  22            41.   Defendants continued to supply the infringing sanitizer products to
  23   retailers it knew or had reason to know were engaging in trademark infringement by
  24   selling the products to consumers.
  25            42.   On information and belief, Defendants failed to take steps to stop the
  26   ongoing infringement of the HEALTHVANA mark when it knew or had reason to
  27   know that retailers continued to sell Defendants’ sanitizer products using the
  28   HEALTHVANA mark.
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                                                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1         43.    On information and belief, one or more Defendants aggressively
   2   marketed the infringing “Healthvana” hand sanitizer product, including through
   3   television commercials, Defendants’ websites, and social media such as YouTube.
   4         44.    Telebrands describes itself as “a leading direct television marketing
   5   company and the original creator of the ‘As Seen On TV’ logo and category of
   6   trade.” On information and belief, Telebrands assisted in the marketing of the
   7   Healthvana hand sanitizer, including on television networks such as Fox News.
   8         45.    One or more Defendants also advertised the “Healthvana” hand
   9   sanitizer through YouTube videos which received tens of thousands of views.
  10         46.    According to one litigation tracking tool, Telebrands has been named as
  11   a defendant in 135 lawsuits, and according to other public records, Telebrands
  12   settled a fraud investigation by the New Jersey Attorney General’s office for
  13   $550,00, and recently lost a $12.3 million jury verdict for willful patent
  14   infringement.
  15               WIDESPREAD CONSUMER CONFUSION AND ANGER
  16         47.    Defendants’ “Healthvana” hand sanitizer immediately generated
  17   consumer confusion and anger directed at Plaintiff Healthvana, exacerbated by the
  18   widespread marketing on television and online.
  19         48.    Starting on March 19, 2020, approximately one day after Defendants
  20   began selling the “Healthvana” hand sanitizer, Plaintiff Healthvana began to receive
  21   correspondence from confused consumers who had ordered, or attempted to order,
  22   Defendants’ “Healthvana” hand sanitizer.
  23         49.    Healthvana quickly realized that consumers had seen advertisements
  24   for “Healthvana” hand sanitizer and had gone to Healthvana’s website at
  25   www.healthvana.com to inquire about the product, which website has a page that
  26   permits users to submit messages.
  27         50.    For example, of the many communications Healthvana received on
  28   March 19, 2020 through its website, one confused consumer wrote to Healthvana: “I
       {217689.3}                             14
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   tried to order healthvana foam tonight The automated system decided to do it’s [sic]
   2   thing after I gave my credit card number. I don’t know what its [sic] sending or how
   3   much they are charging because they told me nothing … I need someone to call me
   4   ASAP at the number above or [redacted].”
   5            51.   On March 20, 2020, another confused consumer wrote to Healthvana:
   6   “How to get the sanitizer shown on a commercial I saw on Fox News channel. The
   7   commercial said to go to the website, but I see nothing on here about it.”
   8            52.   Many other users submitted similar inquiries, accusing Healthvana of
   9   not honoring a discount code and overcharging for the product.
  10            53.   To combat this confusion, on March 20, 2020, Healthvana’s CEO
  11   Ramin Bastani clarified publicly via Twitter that Healthvana was not affiliated with
  12   “Healthvana” hand sanitizer and “tagged” Telebrands, Bulbhead, and Telebrands
  13   CEO AJ Khubani to request that they cease using the HEALTHVANA Mark,
  14   writing “Please remove our registered trademark name @TeleBrands
  15   @BulbHeadIdeas @AJKhubani.” A true and correct copy of a screenshot of the
  16   tweet is shown below:
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       {217689.3}                                15
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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  19            54.   Unfortunately, Healthvana’s disclaimer to consumers did not stem

  20   consumer confusion, and its demand to Telebrands and Bulbhead went unanswered.

  21   Indeed, five days after Healthvana’s public effort to correct the mounting trademark

  22   confusion, on March 25, 2020, Health Bloom doubled down and filed U.S.

  23   Application Serial No. 88/847,447 to register the trademark HEALTHVANA

  24   HYDROCLEAN for “Disinfecting wipes; disinfectant sprays; disinfectants;

  25   disinfecting handwash; disinfectant soap; hand sanitizer and disinfecting foam.”

  26            55.   On March 22, 2020, one consumer wrote to Healthvana: “I am a little

  27   confused. I saw an ad on tv to order some hand sanitizer at healthvanafoam.com. Is

  28   that you?”
       {217689.3}                               16
                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            56.   Another consumer wrote to Healthvana: “There is a product advertised
   2   on a website called healthvanafoam.com. Is this you? Are they affiliated with you
   3   in any way? Or is it a scam? I’m asking because they’re advertising hand sanitizer
   4   for sale.”
   5            57.   Soon thereafter, consumer confusion turned to anger directed at
   6   Healthvana. On information and belief, and based on the experiences of
   7   Healthvana’s and undersigned counsel’s use of the www.healthvanafoam.com
   8   website, the www.healthvanafoam.com website became inoperable in part, and
   9   consumers were unable to order the “Healthvana” hand sanitizer or contact
  10   Defendants. On information and belief, and based on a review of messages from
  11   consumers, this generated more confusion and anger aimed at Healthvana.
  12            58.   On March 25, 2020, one consumer wrote to Healthvana: “You should
  13   be ashamed of yourselves! Price gouging!! 15.00$ for a bottle of hand sanitizer?
  14   WTF. Should be fined for raising prices in a time like this! Shameful.”
  15            59.   Confused and angry consumers posted their misdirected complaints
  16   about Healthvana on social media as well. On March 24, 2020, one consumer
  17   tweeted “I was shocked to see your product, a foaming #HandSanitizer being sold
  18   for $14.99 on late night TV? Hospitals, 1st responders and so many are desperate for
  19   this item as well as masks, etc. Disgusted at ‘Profit over People'? What are you
  20   doing? Why? #CoronavirusPandemic.” A true and correct copy of a screenshot
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       {217689.3}                                17
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   showing this post is shown below:
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  15            60.   On March 29, 2020, one consumer posted a series of tweets calling
  16   Healthvana “Liars!”, stating that Healthvana needed to be “investigated,” and stating
  17   “Oh pleazzzzeee its on your commercials. Taking advantage of people during a
  18   crisis by jacking up prices on things that were hoarded dont make excuses.” A true
  19   and correct copy of this series of tweets is shown below:
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       {217689.3}                               18
                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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  15            61.   In addition, Healthvana’s investors and partners inquired as to whether
  16   Healthvana had expanded to the hand sanitizer business, causing embarrassment for
  17   Healthvana’s leadership.
  18            62.   While angry consumers sent messages to Healthvana and posted social
  19   media complaints about Healthvana, Healthvana was busy with its work to combat
  20   COVID-19 and provide important testing support, but instead was forced to devote a
  21   great deal of valuable time to combat the confusion that Defendants were causing.
  22                     DEFENDANTS’ REBRAND TO “HANDVANA”
  23            63.   Unable to receive a response from Defendants, Healthvana retained the
  24   undersigned counsel to send a cease and desist letter to Defendants.
  25            64.   On March 28, 2020, undersigned counsel sent a cease and desist letter
  26   to Hempvana, copying Telebrands and trademark counsel of record for all
  27   Defendants.
  28            65.   On March 30, 2020, counsel for Healthvana and Defendants as well as
       {217689.3}                              19
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   Healthvana CEO Ramin Bastani and Telebrands COO Bala Iyer held a conference
   2   call to discuss the issues raised in Healthvana’s March 28, 2020 letter. Mr. Bastani
   3   had to step away from his work at a testing center in Los Angeles to join the call.
   4            66.   That same day, March 30, 2020, according to the WHOIS query and
   5   response protocol that provides information about domain name registrations, the
   6   domains www.handvana.com and www.handvanafoam.com were registered. The
   7   records for this domain do not reveal the owner of the domain because it was
   8   registered using a privacy protection service.
   9            67.   On March 31, 2020, Telebrands COO Bala Iyer represented that
  10   Defendants would revise the television commercials to remove reference to
  11   “Healthvana,” would change the trademark for the hand sanitizer product, would
  12   change the website www.healthvanafoam.com by April 1, 2020, and would
  13   communicate to customers to provide contact information for Defendants. In other
  14   discussions, Mr. Byer also represented that Defendants had sold approximately
  15   28,000 units of hand sanitizer per day.
  16            68.   On information and belief, on April 4, 2020, the website
  17   www.healthvanafoam.com was still active.
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       {217689.3}                                20
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            69.   In the following days, Defendants eventually rebranded to “Handvana”
   2   and moved the website to www.handvanafoam.com. A true and correct copy of a
   3   screenshot of the revised website is shown below:
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  19            70.   The “Handvana” website includes a frequently asked questions page
  20   that includes the following question: “Why does Handvana cost so much isn’t this
  21   price gouging?”
  22            71.    On information and belief, the inclusion of this question about price
  23   gouging on the “Handvana” website indicates that consumers have frequently
  24   accused Defendants of price gouging.
  25            72.   On information and belief, bottles of Defendants’ “Healthvana”
  26   sanitizer products are still available for purchase at certain retail locations including,
  27   but not limited to, certain Home Depot and Lowe’s locations.
  28            73.   On information and belief, certain retailers, including, but not limited
       {217689.3}                                21
                                                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   to, CVS, continue to use the “Healthvana” name in connection with Defendants’
   2   products, including on shelf price labels, in point-of-sale systems, and on customer
   3   receipts.
   4                        CONTINUED CONFUSION AND ANGER
   5            74.   Despite Defendants’ rebranding to “Handvana,” consumer confusion
   6   and anger directed at Healthvana continued. On information and belief, this
   7   confusion and anger continued because consumers who had ordered “Healthvana”
   8   hand sanitizer had not received their orders for weeks and/or the merchant name
   9   appearing on consumers’ credit card statements continued to reflect “Healthvana.”
  10            75.   For example, on April 25, 2020, a consumer wrote to Healthvana: “I
  11   ordered your hand sanitizer advertised on television. I was charged for the same. I
  12   received an email saying it shipped a week ago from California. If I don't receive it
  13   by Monday, I will dispute the charge and refuse delivery. Why doesn't COVID
  14   prevent you from charging my credit card but doesn't seem to in any way impede
  15   your ability to collect my money? I think you're a bunch of crooks.”
  16            76.   When Healthvana responded to the confused consumer to clarify that it
  17   was not the hand sanitizer company, the consumer wrote to Healthvana: “F*%k you.
  18   You took my money and delivered nothing. Shall I take my matter to the FCC (since
  19   it was sold via television)? The FBI because it was fraud committed across state
  20   lines? The California Attorney General? The Better Business Bureau? or just dispute
  21   the charge on my credit card, a**holes.”
  22            77.   A fraud investigator from a credit card company also reached out to
  23   Healthvana to determine if a charge for “bulbhed Healthvana $119.88” was fraud.
  24            78.   Healthvana received handwritten notes and voicemails from confused
  25   consumers inquiring about the status of their order, complaining about being
  26   “grossly overcharged,” or stating “You guys took $127 dollars out of my account
  27   and I have never received any treatment stuff from you guys ….”
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       {217689.3}                                 22
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            79.   In addition, Handvana’s Facebook page at
   2   https://www.facebook.com/handvana still lists “Related Pages” and includes
   3   Plaintiff Healthvana as a “related company.”
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  12            80.   On information and belief, Red Copper Pan is another product that
  13   Defendant Telebrands markets. Healthvana is not related to Handvana, Hempvana,
  14   or Red Copper Pan.
  15                         DEFENDANTS’ FALSE ADVERTISING
  16            81.   Defendants also made false or misleading statements in connection
  17   with the promotion of their “Healthvana” hand sanitizer.
  18            82.   The original www.healthvanafoam.com page included a badge stating
  19   “Trusted Brand Since 2015” as shown in Exhibit B and the true and correct copy of
  20   the screenshot below:
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                83.   This statement is false because, as stated above, “Healthvana” hand
  25
       sanitizer was not sold until March 2020. Plaintiff Healthvana, however, was
  26
       founded close to this date, in 2014.
  27

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       {217689.3}                                23
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1            84.   The original www.healthvanafoam.com page included a badge stating
   2   “Over 100 Million Satisfied Customers” as shown in Exhibit B and the true and
   3   correct copy of the screenshot below:
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  10            85.   On information and belief, this statement is false because, as stated
  11   above, “Healthvana” hand sanitizer was not sold until March 2020 and could not
  12   possibly have been sold to “100 Million Satisfied Customers” the same month it
  13   launched.
  14            86.   As shown in Exhibit B and the screenshots below, the “Healthvana”
  15   name was accompanied by a federal trademark registration symbol (®) on the
  16   www.healthvanafoam.com website.
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  21            87.   However, only Plaintiff Healthvana owns a federal trademark
  22   registration for HEALTHVANA. None of the Defendants owns a federal trademark
  23   registration for HEALTHVANA.
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       {217689.3}                                 24
                                                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1         88.    As shown on Exhibit B and the screenshot below, Telebrands claimed
   2   copyright ownership of the website www.healthvanafoam.com with a 2019
   3   copyright notice.
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  12         89.    The website www.healthvanafoam.com website was not registered until
  13   March 12, 2020.
  14         90.    The websites at www.healthvanafoam.com and now
  15   www.handvanafoam.com include the statement that “HydroClean™ is formulated in
  16   the USA and uses an ingredient from an FDA registered facility that kills up to
  17   99.9% of germs. So trusted, it’s used in hospitals.” (emphasis added).
  18         91.    On information and belief, the statement “So trusted, it’s used in
  19   hospitals” is likely to mislead consumers into believing that Defendants’
  20   “Healthvana” hand sanitizer is used in hospitals, even though the product was only
  21   released around March 2020, the same time this statement was made.
  22         92.    On information and belief, Defendants falsely and misleadingly
  23   represented that “Healthvana” hand sanitizer is a “Trusted Brand Since 2015” and
  24   has “Over 100 Million Satisfied Customers,” that Defendants own a federal
  25   registration for HEALTHVANA, that Defendants’ website had been active since
  26   2019, and that the “Healthvana” product is “used in hospitals,” to give the false or
  27   misleading impression that the website and “Healthvana” hand sanitizer existed is
  28   an established brand that existed long before the COVID-19 pandemic. On
       {217689.3}                               25
                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   information and belief, this further exacerbated confusion among consumers that
   2   Healthvana was affiliated, connected, or associated with Defendants’ “Healthvana”
   3   products.
   4                                              COUNT I
   5                                 Federal Trademark Infringement
   6                                        (15 U.S.C. § 1114(1))
   7            93.      Healthvana incorporates by reference the foregoing allegations as if set
   8   forth fully herein.
   9            94.      Healthvana owns U.S. Registration 4,857,628 for HEALTHVANA for
  10   the following goods and services:
  11         Class 9: Computer software, namely, downloadable software and mobile
  12                applications for healthcare recipients for managing personal health, locating
  13                providers of healthcare services, communicating with providers of healthcare
  14                services, and obtaining, storing, and sharing personal medical and healthcare
  15                records; and computer software, namely, downloadable software and mobile
  16                applications for healthcare providers for tracking, storing, and sharing
  17                medical and healthcare records with healthcare recipients
  18         Class 42: Application service provider (ASP) featuring software for use in
  19                connection with medical data and healthcare management, namely,
  20                organizing, tracking, storing, and sharing of health and medical records by
  21                and between healthcare providers and healthcare recipients; providing
  22                software as a service (SaaS) for the storage and verification of the existence
  23                of user and health provider supplied health information and documents, and
  24                the granting and controlling of access to the information and documents;
  25                temporary use of online non-downloadable software and interactive website
  26                featuring technology that allows healthcare recipients to manage personal
  27                health, locate providers of healthcare services, communicate with providers
  28                of healthcare services, and obtaining, store, and share personal health and
       {217689.3}                                     26
                                                       PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1          medical records; providing temporary use of online non-downloadable
   2          computer for healthcare providers for tracking, storing, and sharing
   3          healthcare and medical records with healthcare recipients
   4        Class 44: Consulting services in the field of healthcare; interactive website
   5          featuring healthcare information for healthcare providers for tracking,
   6          storing, and sharing healthcare and medical records with healthcare recipients
   7         95.    Healthvana filed the application that matured into U.S. Registration
   8   4,857,628 on July 8, 2014, and the registration issued on November 24, 2015.
   9         96.    Healthvana used the HEALTHVANA Mark in commerce prior to the
  10   time Defendants began to use “Healthvana” and before any priority date claimed by
  11   Defendants for “Healthvana.”
  12         97.    Defendants’ use of “Healthvana” is not authorized by Healthvana.
  13         98.    Defendants’ use in commerce of the “Healthvana” mark in connection
  14   with the sale, offering for sale, distribution, or advertising of its products is likely to
  15   cause confusion, or to cause mistake, or to deceive, in violation of the Lanham Act,
  16   15 U.S.C. § 1114.
  17         99.    Defendants acted with knowledge of Healthvana’s exclusive rights and
  18   goodwill in the HEALTHVANA Mark, as Defendants had constructive notice of
  19   Healthvana’s federal trademark registration for HEALTHVANA and actual
  20   knowledge of Healthvana’s rights at least as early as March 20, 2020. On
  21   information and belief, Defendants had actual knowledge of Healthvana’s
  22   HEALTHVANA Mark at the time they attempted to register the domain
  23   www.healthvanafoam.com, on or around March 12, 2020. Accordingly, on
  24   information and belief, Defendants’ conduct is willful, deliberate, and intentional.
  25         100. Healthvana has suffered damages and irreparable harm as a result of
  26   Defendants’ infringement and will continue to suffer irreparable injury unless
  27   Defendants’ and its officers, agents, and employees, and all persons acting in
  28   concert with them, are enjoined from engaging in any further such acts in violation
       {217689.3}                             27
                                                    PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   of 15 U.S.C. § 1114(1).
   2                                         COUNT II
   3                                Federal Unfair Competition
   4                                 (15. U.S.C. § 1125(a)(1)(A))
   5
                101. Healthvana incorporates by reference the foregoing allegations as if set
   6
       forth fully herein.
   7
                102. Healthvana uses the HEALTHVANA Mark in interstate commerce for
   8
       a digital health platform and related goods and services since at least as early as July
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       2014. Healthvana has been continuously using the HEALTHVANA Mark for such
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       products and services from a time prior to the date Defendants began use in
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       interstate commerce of “Healthvana” and before any priority date claimed by
  12
       Defendants.
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                103. The HEALTHVANA Mark is inherently distinctive.
  14
                104. Defendants’ use of “Healthvana” is not authorized by Healthvana.
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                105. Defendants’ use in commerce of “Healthvana” is likely to cause
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       confusion or mistake or to deceive as to the affiliation, connection, or association of
  17
       Defendants with Healthvana, or as to the origin, sponsorship, or approval of
  18
       Defendants’ goods and services, in violation of 15 U.S.C. § 1125(a)(1)(A).
  19
                106. Defendants acted with knowledge of Healthvana’s exclusive rights and
  20
       goodwill in the HEALTHVANA Mark, as Defendants had constructive notice of
  21
       Healthvana’s federal trademark registration for HEALTHVANA and actual
  22
       knowledge of Healthvana’s rights at least as early as March 20, 2020. On
  23
       information and belief, Defendants had actual knowledge of Healthvana’s
  24
       HEALTHVANA Mark at the time they attempted to register the domain
  25
       www.healthvanafoam.com, on or around March 12, 2020. Accordingly, on
  26
       information and belief, Defendants’ conduct is willful, deliberate, and intentional.
  27
                107. Healthvana has suffered damages and irreparable harm as a result of
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       {217689.3}                                28
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   Defendants’ unfair competition and will continue to suffer irreparable injury unless
   2   Defendants’ and its officers, agents, and employees, and all persons acting in
   3   concert with them, are enjoined from engaging in any further such acts in violation
   4   of 15 U.S.C. § 1125(a)(1)(A).
   5                                        COUNT III
   6                   Trademark Infringement and Unfair Competition
   7                                (California Common Law)
   8         108. Healthvana incorporates by reference the foregoing allegations as if set
   9   forth fully herein.
  10         109. Healthvana possesses common law rights in the HEALTHVANA Mark
  11   in the State of California due to its extensive promotion, sales, and rendering of
  12   services within the State of California.
  13         110. The HEALTHVANA Mark has achieved a high degree of consumer
  14   recognition nationwide and within the State of California.
  15         111. Defendants’ infringement of Healthvana’s HEALTHVANA Mark, as
  16   described above, constitutes common law trademark infringement and unfair
  17   competition in violation of the common law of the State of California.
  18         112. Defendants’ use of “Healthvana” is not authorized by Healthvana.
  19         113. Defendants’ unauthorized use of the HEALTHVANA Mark, as
  20   described above, has caused and is likely to cause confusion as to the source of
  21   Defendants’ products, all to the detriment of Healthvana.
  22         114. Defendants’ acts are willful, deliberate, and intended to confuse the
  23   public and to injury Healthvana.
  24         115. Healthvana has suffered damages and irreparable harm as a result of
  25   Defendants’ infringement and unfair competition and will continue to suffer
  26   irreparable injury unless Defendants’ and its officers, agents, and employees, and all
  27   persons acting in concert with them, are enjoined from engaging in any further such
  28   acts in violation of California common law.
       {217689.3}                              29
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                                        COUNT IV
   2                                   Unfair Competition
   3                         (Cal. Bus. & Prof. Code, § 17200, et seq.)
   4         116. Healthvana incorporates by reference the foregoing allegations as if set
   5   forth fully herein.
   6         117. The acts described above constitute unfair competition in violation of
   7   Cal. Bus. & Prof. Code § 17200, et seq.
   8         118. On information and belief, Defendants’ conduct is willful, deliberate,
   9   and intentional.
  10         119. Healthvana has suffered damages and irreparable harm as a result of
  11   Defendants’ infringement and will continue to suffer irreparable injury unless
  12   Defendants’ and its officers, agents, and employees, and all persons acting in
  13   concert with them, are enjoined from engaging in any further such acts in violation
  14   of Cal. Bus. & Prof. Code § 17200, et seq.
  15                                        COUNT V
  16                                Federal False Advertising
  17                               (15. U.S.C. § 1125(a)(1)(B))
  18         120. Healthvana incorporates by reference the foregoing allegations as if set
  19   forth fully herein.
  20         121. As described above, Defendants have used in commerce false or
  21   misleading descriptions of act and/or false or misleading representations in
  22   commercial advertising or promotion which misrepresent the nature, characteristics,
  23   or qualities of Defendants’ goods, services, and/or commercial activities, in
  24   violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).
  25         122. On information and belief, Defendants’ actions in misrepresenting the
  26   nature, characteristics, or qualities of Defendants’ goods or services by making false
  27   or misleading descriptions of fact and/or false or misleading representations of fact,
  28   in commercial advertising or promotion, were willful, deliberate, intentional and/or
       {217689.3}                             30
                                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   in bad faith.
   2            123. Healthvana has suffered damages and irreparable harm as a result of
   3   Defendants’ false advertising and will continue to suffer irreparable injury unless
   4   Defendants’ and its officers, agents, and employees, and all persons acting in
   5   concert with them, are enjoined from engaging in any further such acts in violation
   6   of 15 U.S.C. § 1125(a)(1)(B).
   7                                         COUNT VI
   8                                   State False Advertising
   9                          (Cal. Bus. & Prof. Code § 17500, et seq.)
  10            124. Healthvana incorporates by reference the foregoing allegations as if set
  11   forth fully herein.
  12            125. California Business & Professions Code § 17500, et seq. prohibits
  13   various deceptive practices in connection with the dissemination in any manner of
  14   representations which are likely to deceive members of the public to purchase
  15   products and services such as the false advertising described above.
  16            126. Defendants’ acts and practices as described herein have deceived
  17   and/or are likely to deceive consumers.
  18            127. On information and belief, Defendants know that its advertising
  19   statements identified herein are untrue or misleading or, with the exercise of
  20   reasonable care, should have known that its advertising statements identified herein
  21   are untrue or misleading.
  22            128. Healthvana has suffered damages and irreparable harm as a result of
  23   Defendants’ false advertising and will continue to suffer irreparable injury unless
  24   Defendants’ and its officers, agents, and employees, and all persons acting in
  25   concert with them, are enjoined from engaging in any further such acts in violation
  26   of Cal. Bus. & Prof. Code § 17500, et seq.
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       {217689.3}                                31
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                                         COUNT VII
   2                      Anti-Cybersquatting Consumer Protection Act
   3                                    (15 U.S.C. § 1125(d))
   4            129. Healthvana incorporates by reference the foregoing allegations as if set
   5   forth fully herein.
   6            130. On information and belief, one or more Defendants registered and used
   7   the domain www.healthvanafoam.com. The identity of the registrant is hidden
   8   through the registrar’s privacy service.
   9            131. Defendants did not register or use the www.healthvanafoam.com
  10   domain in connection with the bona fide offering of any goods or services before
  11   Healthvana began use of or filed its application to register the HEALTHVANA
  12   Mark.
  13            132. Defendants do not make a bona fide noncommercial or fair use of
  14   Healthvana’s HEALTHVANA Mark on its website hosted at
  15   www.heathvanafoam.com.
  16            133. Defendants had constructive notice of Healthvana’s federal trademark
  17   registration for HEALTHVANA and actual knowledge of Healthvana’s rights at
  18   least as early as March 20, 2020. On information and belief, Defendants had actual
  19   knowledge of Healthvana’s HEALTHVANA Mark at the time they attempted to
  20   register the domain www.healthvanafoam.com, on or around March 12, 2020.
  21            134. Defendants’ acts described above demonstrate a bad faith intent to
  22   profit from Healthvana’s HEALTHVANA Mark in violation of the Anti-
  23   Cybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d).
  24            135. As a consequence, Healthvana is entitled to an injunction, Defendants’
  25   profits, Healthvana’s damages, statutory damages, and costs of this action.
  26                                        COUNT VIII
  27                          Contributory Trademark Infringement
  28            136. Healthvana incorporates by reference the foregoing allegations as if set
       {217689.3}                              32
                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   forth fully herein.
   2         137. Defendants sold or distributed their sanitizer products, labeled with the
   3   name “Healthvana” or identified as “Healthvana” brand, to retailers, including, but
   4   not limited to, Home Depot, Lowe’s, and CVS, with the knowledge and intention
   5   that the retailers would use in commerce the HEALTHVANA mark in connection
   6   with the sale, offering for sale, distribution, or advertising of the products in a
   7   manner likely to cause confusion, or to cause mistake, or to deceive, in violation of
   8   the Lanham Act, 15 U.S.C. § 1114, and California common law trademark rights.
   9         138. Defendants continued to supply its sanitizer products, labeled with the
  10   name “Healthvana” or identified as “Healthvana” brand, to retailers it knew or had
  11   reason to know were using in commerce the HEALTHVANA mark in connection
  12   with the sale, offering for sale, distribution, or advertising of the products in a
  13   manner likely to cause confusion, or to cause mistake, or to deceive, in violation of
  14   the Lanham Act, 15 U.S.C. § 1114, and California common law trademark rights.
  15         139. On information and belief, Defendants failed to take steps to stop the
  16   infringement of the HEALTHVANA mark when Defendants knew or had reason to
  17   know that retailers continued to sell Defendants’ sanitizer products using the
  18   HEALTHVANA mark.
  19         140. On information and belief, bottles of Defendants’ “Healthvana”
  20   sanitizer products are still available for purchase at certain retail locations including,
  21   but not limited to, certain Home Depot and Lowe’s locations.
  22         141. On information and belief, certain retailers, including, but not limited
  23   to, CVS, continue to use the “Healthvana” name in connection with Defendants’
  24   products, including on shelf price labels, in point-of-sale systems, and on customer
  25   receipts.
  26         142. Healthvana has suffered damages and irreparable harm as a result of the
  27   infringement by the retailers and will continue to suffer irreparable injury unless
  28   Defendants’ and its officers, agents, and employees, and all persons acting in
       {217689.3}                                33
                                                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1   concert with them, are enjoined from engaging in any further such acts in violation
   2   of 15 U.S.C. § 1114(1) and California common law trademark rights.
   3                                          PRAYER
   4            WHEREFORE, Healthvana prays for:
   5            1.   Entry of judgment in favor of Healthvana on all claims.
   6            2.   Preliminary and permanent injunctive relief:
   7                    a. enjoining Defendants from directly or indirectly engaging in any
   8                       further trademark infringement or unfair competition against
   9                       Healthvana, and from aiding, abetting, encouraging, or inducing
  10                       others to do so.
  11                    b. enjoining Defendants from directly or indirectly engaging in any
  12                       further false advertising, and from aiding, abetting, encouraging,
  13                       or inducing others to do so.
  14                    c. requiring Defendants to change the merchant name that appears
  15                       on consumers’ credit card statements when consumers purchase
  16                       the Handvana sanitizer to something easily identifying the source
  17                       and to provide a phone number in the merchant line as well;
  18                    d. requiring Defendants to contact every consumer of the
  19                       “Healthvana” or “Handvana” hand sanitizer product to date with
  20                       an email and written letter with language that is approved by
  21                       Healthvana, to inform consumers that Defendants have changed
  22                       the name of the “Healthvana” hand sanitizer, direct consumers to
  23                       cease contacting Healthvana, and provide explicit contact
  24                       information for Defendants that includes a working and
  25                       responsive email, address and phone number;
  26                    e. requiring Defendants to add a prominent notice to the home page
  27                       of the website at https://handvanafoam.com/ for the next six
  28                       months that explains that Defendants were originally using the
       {217689.3}                               34
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   1                         name “Healthvana” and apologizing for the confusion that such
   2                         usage caused with the prior existing company, Healthvana, with
   3                         language that is to be approved by Healthvana;
   4                      f. requiring Defendants to recall all products bearing the
   5                         “Healthvana” name that are in the possession of distributors or
   6                         retailers; and
   7                      g. requiring Defendants to surrender all labels, signs, prints
   8                         packages, wrappers, receptacles, and advertisements bearing the
   9                         “Healthvana” name for destruction.
  10                3. An order directing Defendants to file with this Court and serve upon
  11                   Healthvana within thirty (30) days after service upon Defendants of any
  12                   injunction herein, a report in writing and under oath setting forth in
  13                   detail the manner and form in which Defendants have complied with
  14                   the injunction.
  15                4. An order requiring Defendants to withdraw Application Serial Nos.
  16                   88/840,561; 88/847,447; 88/504,451; and 88/784,770 for
  17                   HEALTHVANA and HEALTHVANA HYDROCLEAN.
  18                5. An accounting and order for Defendants to pay to Healthvana:
  19                      a. All monetary gains, profits, and advantages derived by
  20                         Defendants from the acts complained of herein;
  21                      b. All monetary gains, profits, and advantages derived by retailers
  22                         from selling Defendants’ products in a manner that infringes the
  23                         HEALTHVANA mark, as alleged herein;
  24                      c. Damages incurred by Healthvana;
  25                      d. Statutory damages for violation of 15 U.S.C. § 1125(d)(1)
  26                         pursuant to 15 U.S.C. § 1117(d) in the amount of $100,000 per
  27                         infringing domain name;
  28                      e. Treble damages as provided by law and pursuant to 15 U.S.C. §
       {217689.3}                                35
                                                    PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                       1117(a);
   2                    f. Punitive and exemplary damages as provided by law and to be
   3                       determined by the Court after a full hearing on the merits and
   4                       pursuant to the laws of the State of California; and
   5                    g. Healthvana’s costs and disbursements in this action, including
   6                       reasonable attorneys’ fees and prejudgment and post-judgment
   7                       interest, pursuant to 15 U.S.C. § 1117(a) and the laws of the
   8                       State of California.
   9            6.   An order requiring Defendants to transfer ownership of
  10                 www.healthvanafoam.com to Healthvana.
  11            7.   Such other and further relief, in law or equity, as this Court deems just
  12                 and proper.
  13

  14                                          Respectfully Submitted,
  15                                          UMBERG ZIPSER LLP
  16

  17    Dated: August 20, 2021             By: /s/Mark A. Finkelstein
  18                                         Mark A. Finkelstein
                                             Brent S. Colasurdo
  19                                         Attorneys for Plaintiff Healthvana, Inc.
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                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT
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   1                                   DEMAND FOR JURY TRIAL
   2            Plaintiff Healthvana demands trial by jury of all causes of action herein
   3   properly triable to a jury, consistent with Federal Rule of Civil Procedure 38.
   4

   5                                            Respectfully Submitted,
   6                                            UMBERG ZIPSER LLP
   7

   8    Dated: August 20, 2021               By: /s/Mark A. Finkelstein
   9                                           Mark A. Finkelstein
                                               Brent S. Colasurdo
  10                                           Attorneys for Plaintiff Healthvana, Inc.
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       JURY DEMAND
